Case 21-30589-MBK         Doc 2396      Filed 06/01/22 Entered 06/01/22 16:12:55             Desc Main
                                      Document      Page 1 of 8



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)



 Jeffrey Traurig                                        Robert J. Keach, Esq. (pro hac vice pending)
 TRAURIG LAW LLC                                        BERNSTEIN SHUR SAWYER & NELSON, P.A.
 One University Plaza, Suite 124                        100 Middle Street
 Hackensack, NJ 07601                                   Portland, ME 04104
 Tel: (646) 974-8650                                    Tel: (207) 774-1200
 E-mail: jtraurig@trauriglaw.com                        Fax: (207) 774-1127
 Local Counsel to the Fee Examiner                      E-Mail: rkeach@bernsteinshur.com
                                                        Fee Examiner

                                                        BERNSTEIN SHUR SAWYER & NELSON, P.A.
                                                        Letson Douglass Boots, Esq. (pro hac vice
                                                        pending)
                                                        100 Middle Street
                                                        Portland, ME 04104
                                                        Tel: (207) 774-1200
                                                        Fax: (207) 774-1127
                                                        E-Mail: lboots@bernsteinshur.com
                                                        Counsel to the Fee Examiner




 In Re:                                                   Case No.:     21-30589 (MBK)

 LTL MANAGEMENT LLC,                                      Judge:       Michael B. Kaplan

                       Debtor                             Chapter 11

                                    CERTIFICATION OF SERVICE

     1. I, Karla M. Quirk:

                    represent [ ]                  in this matter.

                 X am a paralegal for Bernstein, Shur, Sawyer & Nelson, P.A., who represents the
                   Fee Examiner in this matter.

                    am the [ ]                         in this case and am representing myself.
Case 21-30589-MBK        Doc 2396     Filed 06/01/22 Entered 06/01/22 16:12:55                 Desc Main
                                    Document      Page 2 of 8



    2. On June 1, 2022, I sent a copy of the following pleadings and/or documents to the parties
       listed in the chart below:

       DE 2393      Statement of Fee Examiner in Connection with the Second Supplemental
                    Certification of Saul E. Burian in Further Support of Retention of Houlihan
                    Lokey Capital, Inc. as Investment Banker to the Official Committee of Talc
                    Claimants and in Response to the Debtor’s Supplemental Omnibus
                    Objection Thereto.

    3. I certify under penalty of perjury that the above documents were sent using the mode of
       service indicated.


    Date: June 1, 2022                              /s/ Karla M. Quirk
                                                    Karla M. Quirk, Paralegal

   Name and Address of Party Served        Relationship of Party to            Mode of Service
                                                  the Case
                                                                        Hand-delivered
  See Attached Exhibit A                                                Regular Mail
                                                                        Certified mail/RR
                                                                      X Other email
                                                                           (As authorized by the Court or by rule.
                                                                       Cite the rule if applicable)




                                               2
 Case 21-30589-MBK        Doc 2396     Filed 06/01/22 Entered 06/01/22 16:12:55       Desc Main
                                     Document      Page 3 of 8

                                            Exhibit A

NAME                                            EMAIL
ARNOLD & ITKIN LLP                              CBOATRIGHT@ARNOLDITKIN.COM;
                                                RCHRISTENSEN@ARNOLDITKIN.COM;
                                                JITKIN@ARNOLDITKIN.COM
ASHCRAFT & GEREL, LLP                           jgreen@ashcraftlaw.com; plyons@ashcraftlaw.com;
                                                mparfitt@ashcraftlaw.com
AYLSTOCK WITKIN KREIS &                         MARYBETH@PUTNICKLEGAL.COM;
                                                DTHORNBURGH@AWKOLAW.COM
BAILEY & GLASSER LLP                            cjoshi@baileyglasser.com
BALLARD SPAHR LLP                               daluzt@ballardspahr.com;
                                                heilmanl@ballardspahr.com;
                                                roglenl@ballardspahr.com
BARNES FIRM                                     JOE.VAZQUEZ@THEBARNESFIRM.COM
BEASLEY ALLEN LAW FIRM                          CHARLIE.STERN@BEASLEYALLEN.COM;
                                                LEIGH.ODELL@BEASLEYALLEN.COM
BLANCO TACKABERY & MATAMOROS, P.A.              asr@blancolaw.com

BROWN RUDNICK LLP                               sbeville@brownrudnick.com
BROWN RUDNICK LLP                               dmolton@brownrudnick.com;
                                                rstark@brownrudnick.com
BURNS CHAREST LLP                               dcharest@burnscharest.com
CELLINO LAW LLP                                 BRIAN.GOLDSTEIN@CELLINOLAW.COM
CLYDE & CO US LLP                               konrad.krebs@clydeco.us
CLYDE AND CO US LLP                             clinton.cameron@clydeco.us;
                                                meghan.dalton@clydeco.us
COHEN, PLACITELLA & ROTH, P.C.                  DGEIER@CPRLAW.COM; CPLACITELLA@CPRLAW.COM
COHEN, PLACITELLA & ROTH, P.C.                  JMPLACITELLA@CPRLAW.COM
COLE SCHOTZ P.C.                                fyudkin@coleschotz.com
COLE SCHOTZ P.C.                                mtsukerman@coleschotz.com
COOLEY LLP                                      elazerowitz@cooley.com
CORDES LAW, PLLC                                stacy@cordes-law.com; meghan@cordes-law.com
COUGHLIN MIDLIGE & GARLAND LLP                  smidlige@cmg.law
CROWELL & MORING LLP                            gplotko@crowell.com
CROWELL & MORING LLP                            mplevin@crowell.com; kcacabelos@crowell.com
CROWELL & MORING LLP                            tyoon@crowell.com; rjankowski@crowell.com
DALIMONTE RUEB STOLLER, LLP                     JOHN@DRLAWLLP.COM; GREG@DRLAWLLP.COM
DAVID CHRISTIAN ATTORNEYS LLC                   dchristian@dca.law
DEAN OMAR BRANHAM SHIRLEY, LLC                  JDEAN@DOBSLEGAL.COM;
                                                TBRANHAM@DOBSLEGAL.COM;
                                                BSMITH@DOBSLEGAL.COM
DLA PIPER LLP (US)                              aidan.mccormack@dlapiper.com;
                                                brian.seibert@dlapiper.com
DRISCOLL FIRM, LLC                              6182770962@fax.bssn.com
DUANE MORRIS LLP                                prmatthews@duanemorris.com
 Case 21-30589-MBK          Doc 2396     Filed 06/01/22 Entered 06/01/22 16:12:55    Desc Main
                                       Document      Page 4 of 8

DUANE MORRIS LLP                                  slross@duanemorris.com
EMMET, MARVIN & MARTIN LLP                        tpitta@emmetmarvin.com
EPIQ CORPORATE RESTRUCTURING, LLC                 ltlinfo@epiqglobal.com
FEARS NACHAWATI LAW FIRM                          DMCDOWELL@FNLAWFIRM.COM
FERRARO LAW FIRM                                  LBR@FERRAROLAW.COM; JLB@FERRAROLAW.COM
FLINT LAW FIRM LLC                                EFLINT@FLINTLAW.COM
FOX ROTHSCHILD LLP                                jdipasquale@foxrothschild.com
FOX ROTHSCHILD LLP                                jcaneco@foxrothschild.com
GENOVA BURNS LLC                                  dstolz@genovaburns.com;
                                                  dclarke@genovaburns.com;
                                                  mbaker@genovaburns.com
GIMIGLIANO MAURIELLO & MALONEY                    sgimigliano@lawgmm.com; jmaloney@lawgmm.com;
                                                  rrabinowitz@lawgmm.com
GOLOMB SPIRIT GRUNFELD, PC                        KGRUNFELD@GOLOMBHONIK.COM;
                                                  RGOLOMB@GOLOMBHONIK.COM;
                                                  ASPIRT@GOLOMBHONIK.COM;
                                                  KGOLOMB@GOLOMBLEGAL.COM
GREENBAUM, ROWE, SMITH & DAVIS LLP                nisaacson@greenbaumlaw.com
GREENBERG TRAURIG, LLP                            brodya@gtlaw.com
HALPERIN BATTAGLIA BENZIJA LLP                    ahalperin@halperinlaw.net;
                                                  dlieberman@halperinlaw.net
HERRICK FEINSTEIN LLP                             ssmith@herrick.com; rginzburg@herrick.com
HILL HILL CARTER FRANCO COLE &                    ecarter@hillhillcarter.com
HONIK LLC                                         RUBEN@HONIKLAW.COM; DAVID@HONIKLAW.COM
HUGHES HUBBARD & REED LLP                         CHRIS.KIPLOK@HUGHESHUBBARD.COM;
                                                  WILLIAM.BEAUSOLEIL@HUGHESHUBBARD.COM;
                                                  ERIN.DIERS@HUGHESHUBBARD.COM
J.C. WHITE LAW GROUP PLLC                         jwhite@jcwhitelaw.com
JD THOMPSON LAW                                   jdt@jdthompsonlaw.com
JOHNSON LAW GROUP                                 8007316018@fax.bssn.com
JONES DAY                                         gmgordon@jonesday.com; dbprieto@jonesday.com;
                                                  asrush@jonesday.com; iperez@jonesday.com
JONES DAY                                         bberens@jonesday.com
KARST & VON OISTE LLP                             EPK@KARSTVONOISTE.COM
KARST & VON OISTE, LLP                            dac@karstvonoiste.com
KASOWITZ BENSON TORRES LLP                        drosner@kasowitz.com; rnovick@kasowitz.com;
                                                  agolden@kasowitz.com
KASOWITZ BENSON TORRES LLP                        mhutchins@kasowitz.com
KATTEN MUCHIN ROSENMAN LLP                        shaya.rochester@katten.com
KATTEN MUCHIN ROSENMAN LLP                        kelsey.panizzolo@katten.com
KAZAN MCCLAIN SATTERLY &                          JSATTERLEY@KAZANLAW.COM
KENNEDYS CMK LLP                                  heather.simpson@kennedyslaw.com
KIESEL LAW, LLP                                   ZUKIN@KIESEL.LAW; KIESEL@KIESEL.LAW;
                                                  PALMER@KIESEL.LAW
KING & SPALDING LLP                               ccorey@kslaw.com
KING & SPALDING LLP                               dschneider@kslaw.com
 Case 21-30589-MBK       Doc 2396     Filed 06/01/22 Entered 06/01/22 16:12:55        Desc Main
                                    Document      Page 5 of 8

KLEHR HARRISON HARVEY BRANZBURG LLP              cslocum@klehr.com; mbranzburg@klehr.com

KTBS LAW LLP                                     nmaoz@ktbslaw.com; skidder@ktbslaw.com;
                                                 rpfister@ktbslaw.com; mtuchin@ktbslaw.com
LANIER LAW FIRM                                  MICHAEL.AKSELRUD@LANIERLAWFIRM.COM
LATHAM & WATKINS LLP                             jeff.bjork@lw.com; kim.posin@lw.com;
                                                 amy.quartarolo@lw.com
LATHAM & WATKINS LLP                             adam.ravin@lw.com
LAW FIRM OF BRIAN W HOFMEISTER, LLC              bwh@hofmeisterfirm.com
LAW OFFICES OF MITCHELL J. MALZBERG, LLC         mmalzberg@mjmalzberglaw.com

LAW OFFICES OF R. KEITH JOHNSON, P.A.            7048274477@fax.bssn.com
LEVIN PAPANTONIO RAFFERTY                        ctisi@levinlaw.com
LEVY KONIGSBERG LLP                              MMAIMON@LEVYLAW.COM
LEVY KONIGSBERG LLP                              JBLOCK@LEVYLAW.COM
LEX NOVA LAW LLC                                 rdressel@lexnovalaw.com
LEX NOVA LAW LLC                                 rdressel@lexnovalaw.com
LITE DEPALMA GREENBERG & AFANADOR, LLC           aunderwood@litedepalma.com

LOWENSTEIN SANDLER LLP                           krosen@lowenstein.com;
                                                 mseymour@lowenstein.com
LTL MANAGEMENT LLC                               jkim2@its.jnj.com
MANIER & HEROD, P.C.                             rmiller@manierherod.com
MARSHACK HAYS LLP                                lmasud@marshackhays.com
MASSEY & GAIL LLP                                jmassey@masseygail.com
MAUNE RAICHLE HARTLEY FRENCH &                   BFRENCH@MRHFMLAW.COM
MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC          sratcliffe@mrhfmlaw.com

MAUNE RAICHLE HARTLEY FRENCH & MUDD LLC          cthompson@mrhfmlaw.com

MCCARTER & ENGLISH LLP                           bkahn@mccarter.com;
                                                 tladd@mccarter.com
MCMANIMON, SCOTLAND & BAUMANN, LLC               asodono@msbnj.com;
                                                 splacona@msbnj.com
MENDES & MOUNT LLP                               eileen.mccabe@mendes.com;
                                                 stephen.roberts@mendes.com
MILLER FIRM, LLC                                 CHOKE@MILLERFIRMLLC.COM
MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO,   pwkalish@mintz.com;
P.C                                              emfarrell@mintz.com
MOON WRIGHT & HOUSTON, PLLC                      rwright@mwhattorneys.com;
                                                 ahouston@mwhattorneys.com;
                                                 cbrown@mwhattorneys.com
MOORE & VAN ALLEN PLLC                           hillarycrabtree@mvalaw.com
MORITT HOCK & HAMROFF LLP                        lberkoff@moritthock.com; aarotsky@moritthock.com
MOTLEY RICE LLC                                  JHURST@MOTLEYRICE.COM
MOTLEY RICE LLC                                  CSCOTT@MOTLEYRICE.COM
MOTLEY RICE LLC                                  dlapinski@motleyrice.com
 Case 21-30589-MBK        Doc 2396      Filed 06/01/22 Entered 06/01/22 16:12:55            Desc Main
                                      Document      Page 6 of 8

NAME AND ADDRESS INFORMATION                     deborah.fletcher@fisherbroyles.com
NAPOLI SHKOLNIK PLLC                             CLOPALO@NAPOLIBERN.COM;
OFFICE OF THE ATTORNEY GENERAL OF TEXAS          rachel.obaldo@oag.texas.gov;
                                                 autumn.highsmith@oag.texas.gov
OFFICE OF THE U.S. ATTORNEY                      eamonn.ohagan(a)usdoj.gov
OFFICE OF THE US TRUSTEE                         lauren.bielskie@usdoj.gov;
                                                 jeffrey.m.sponder@usdoj.gov;
                                                 Mitchell.B.Hausman@usdoj.gov
OFFIT KURMAN, P.A.                               paul.baynard@offitkurman.com
OFFIT KURMAN, P.A.                               pwinterhalter@offitkurman.com
ONDERLAW, LLC                                    ONDER@ONDERLAW.COM
OTTERBOURG P.C.                                  jbougiamas@otterbourg.com;
                                                 mcyganowski@o erbourg.com;
                                                 asilverstein@otterbourg.com
PACHULSKI STANG ZIEHL & JONES LLP                ljones@pszjlaw.com;
                                                 kdine@pszjlaw.com;
                                                 crobinson@pszjlaw.com;
                                                 pkeane@pszjlaw.com
PARKER POE ADAMS & BERNSTEIN LLP                 ashleyedwards@parkerpoe.com
PARKINS LEE & RUBIO LLP                          crubio@parkinslee.com; lparkins@parkinslee.com
PARKINS LEE & RUBIO LLP                          lparkins@parkinslee.com; crubio@parkinslee.com
PENSION BENEFIT GUARANTY CORPORATION             lachman.carolyn@pbgc.gov; efile@pbgc.gov

PENSION BENEFIT GUARANTY CORPORATION             torres.simon@pbgc.gov; efile@pbgc.gov

PORZIO, BROMBERG & NEWMAN, P.C.                  raparisi@pbnlaw.com;
                                                 kdcurtin@pbnlaw.com
PRYOR CASHMAN LLP                                slieberman@pryorcashman.com;
                                                 arichmond@pryorcashman.com
RABINOWITZ, LUBETKIN & TULLY, LLC                jrabinowitz@rltlawfirm.com
RANDI S. ELLIS                                   randi@randiellis.com
RAWLINGS & ASSOCIATES                            mdf@rawlingsandassociates.com;
                                                 rgl@rawlingsandassociates.com
RAYBURN COOPER & DURHAM, P.A.                    rrayburn@rcdlaw.net; jmiller@rcdlaw.net;
                                                 mtomsic@rcdlaw.net
REED SMITH LLP                                   psinger@reedsmith.com
REED SMITH LLP                                   jangelo@reedsmith.com
REED SMITH LLP                                   dbaker@reedsmith.com;
RIVKIN RADLER LLP                                brian.ade@rivkin.com
ROBINSON, CALCAGNIE, ROBINSON,                   9497201292@fax.bssn.com
ROSS FELLER CASEY, LLP                           bmccormick@rossfellercasey.com
RUGGERI PARKS WEINBERG LLP                       jweinberg@ruggerilaw.com;
                                                 jmayer@ruggerilaw.com
SAIBER LLC                                       jaugust@saiber.com;
                                                 mwolin@saiber.com
SAVO, SCHALK, GILLESPIE, O'GRODNICK              schalk@centraljerseylaw.com;
                                                 brokaw@centraljerseylaw.com
 Case 21-30589-MBK        Doc 2396     Filed 06/01/22 Entered 06/01/22 16:12:55       Desc Main
                                     Document      Page 7 of 8

SHERMAN SILVERSTEIN KOHL ROSE & PODOLSKY, P.A. aabramowitz@shermansilverstein.com;
                                               amoldoﬀ@shermansilverstein.com;
                                               rswitkes@shermansilverstein.com
SIMMONS HANLY CONROY LLC                       JKRAMER@SIMMONSFIRM.COM
SIMON GREENSTONE PANATIERE                     CPANATIER@SGPBLAW.COM
SIMPSON THACHER & BARTLETT LLP                 squsba@stblaw.com; cwaldman@stblaw.com;
                                               jamie.fell@stblaw.com; zachary.weiner@stblaw.com;
SIMPSON THACHER & BARTLETT LLP                 michael.torkin@stblaw.com; afrankel@stblaw.com;
                                               kmclendon@stblaw.com;
SIMPSON THACHER & BARTLETT LLP                 afrankel@stblaw.com
STEVENS & LEE, P.C.                            andreas.milliaressis@stevenslee.com
STEVENS & LEE, P.C.                            joseph.huston@stevenslee.com
THE GORI LAW FIRM                              BETH@GORIJULIANLAW.COM;
                                               SARA@GORIJULIANLAW.COM;
                                               TODD@GORIJULIANLAW.COM
THE KELLY FIRM, P.C.                           akelly@kbtlaw.com
THE LAYTON LAW FIRM, PLLC                      chris@thelaytonlawfirm.com
THE SHAPIRO LAW FIRM                           jshapiro@shapirolawfirm.com
TOGUT, SEGAL & SEGAL LLP                       altogut@teamtogut.com;
                                               frankoswald@teamtogut.com;
                                               bshaughnessy@teamtogut.com
TRAMMELL PC                                    FLETCH@TRAMMELLPC.COM
TRAURIG LAW LLC                                jtraurig@trauriglaw.com
TRIF & MODUGNO LLC                             lmodugno@tm-firm.com
US DEPARTMENT OF JUSTICE                       john.z.balasko@usdoj.gov
VINSON & ELKINS LLP                            sabramowitz@velaw.com
WALLACE & GRAHAM PA                            bgraham@wallacegraham.com
WALSH PIZZI O'REILLY FALANGA                   mfalk@walsh.law
WARD AND SMITH, P.A.                           paf@wardandsmith.com;
                                               njl@wardandsmith.com
WEITZ & LUXENBERG, P.C.                        ERELKIN@WEITZLUX.COM
WEITZ & LUXENBERG, P.C.                        DKRAFTJR@WEITZLUX.COM;
                                               JDELANEY@WEITZLUX.COM;
WHITE & CASE LLP                               JESSICA.LAURIA@WHITECASE.COM;
                                               GKURTZ@WHITECASE.COM;
                                               RICARDO.PASIANOTTO@WHITECASE.COM;
                                               jessica.boelter@whitecase.com
WHITE & CASE LLP                               mshepherd@whitecase.com;
                                               laura.femino@whitecase.com
WHITE & CASE LLP                               blair.warner@whitecase.com
WILLIAMS HART LAW FIRM                         7136436226@fax.bssn.com
WINDELS MARX LANE & MITTENDORF LLP             acraig@windelsmarx.com;
                                               scalogero@windelsmarx.com
 Case 21-30589-MBK      Doc 2396     Filed 06/01/22 Entered 06/01/22 16:12:55    Desc Main
                                   Document      Page 8 of 8

WOLLMUTH MAHER & DEUTSCH LLP                  jlawlor@wmd-law.com;
                                              pdeﬁlippo@wmd-law.com;
                                              ltre er@wmd-law.com;
                                              jpacelli@wmd-law.com;
                                              baxelrod@wmd-law.com
WOMBLE BOND DICKINSON (US) LLP                matthew.ward@wbd-us.com; ericka.johnson@wbd-
                                              us.com
ZELLE LLP                                     acogbill@zelle.com
